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UNITED STATES MAGISTRATE JUDGE
U.S. DISTRICT COURT BUILDING
WASHINGTON, D.C.
PLEASE ISSUE:                   Arrest        ✔ Search              ✔ Seizure

warrant for:               314 SHELBY STREET, SHELBYVILLE, INDIANA UNDER RULE 41




Violation:      ✔ D.C.C. ✔ U.S.C.                                Title: 18; 40; 22
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Section(s):     ) 86& D  86& D  DQG E '&&'&&DQG




 V7HMSDO&KDZOD                                               November 16, 2021
Tejpal Chawla                                                    Date
Assistant United States Attorney




COMPLETE FOR ALL ARREST WARRANTS:

The following information must be provided for ALL arrest warrants and an original and
duplicate of this form must be submitted to the Clerk's Office with the warrant papers.

Officer / Agent Name:         Richard Larity

Badge Number:         5005

Agency / Unit:       U.S. Capitol Police Department

24 Hour Telephone Number:             202-631-4126
(For officer/agent)

Cellular Number: 202-631-4126
(For officer/agent)
                               Case 1:21-sw-00391-RMM Document 1 Filed 11/16/21 Page 2 of 67
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                                    UNITED STATES DISTRICT COURT
                                                                            for the
                                                                   DistrictDistrict
                                                              __________    of Columbia
                                                                                    of __________

                   In the Matter of the Search of                                                    )
            (Briefly describe the property to be searched                                            )
             or identify the person by name and address)                                             )                   Case No. 21-sw-391
    314 SHELBY STREET, SHELBYVILLE,                                                                  )
         INDIANA UNDER RULE 41                                                                       )
                                                                                                     )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A hereby incorporated by reference.

located in the                          Southern       District of                                       Indiana                            , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B hereby incorporated herein by reference.


             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                  ✔ evidence of a crime;
                  u
                  ✔ contraband, fruits of crime, or other items illegally possessed;
                  u
                        u property designed for use, intended for use, or used in committing a crime;
                        u a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
                  Code Section
        86& F  
                                                                                                                       Offense Description
                                                       2EVWUXFWLRQRID&RQJUHVVLRQDO3URFHHGLQJDQGRID*UDQG-XU\3URFHHGLQJ
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             The application is based on these facts:
          See attached Affidavit, incorporated herein by reference.


              u Continued on the attached sheet.
              u Delayed notice of        days (give exact ending date if more than 30 days:                                                                      ) is   requested under
                18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                                                                                                  Digitally signed by Larity, Richard T.
                                                                                                                                                                  DN: cn=Larity, Richard T.,
                                                                                                                                                                  email=Richard.Larity@uscp.gov
                                                                                                                                                                  Date: 2021.11.16 12:09:00 -05'00'

                                                                                                                                           Applicant’s signature

                                                                                                                                      Richard Larity, Special Agent
                                                                                                                                           Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:                   11/16/2021
                                                                                                                                             Judge’s signature

City and state: Washington, D.C.                                                                                     Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                                                           Printed name and title
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AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                u Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 21-sw-391
       314 SHELBY STREET, SHELBYVILLE,                                      )
            INDIANA UNDER RULE 41                                           )
                                                                            )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                       Southern   District of             Indiana
(identify the person or describe the property to be searched and give its location):
  See Attachment A hereby incorporated herein by reference.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B hereby incorporated herein by reference.




          YOU ARE COMMANDED to execute this warrant on or before        November 30, 2021        (not to exceed 14 days)
      ✔ in the daytime 6:00 a.m. to 10:00 p.m.
      u                                  u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to          U.S. Magistrate Judge Robin M. Meriweather         .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:          11/16/2021
                                                                                                          Judge’s signature

City and state: Washington, D.C.                                                       Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                        Printed name and title
                           Case 1:21-sw-00391-RMM Document 1 Filed 11/16/21 Page 4 of 67
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 21-sw-391
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                       ATTACHMENT A

                                PROPERTY TO BE SEARCHED

               314 Shelby Street, Shelbyville, IN 46176 (TARGET LOCATION)




The TARGET LOCATION to be searched is the premises and real property at 314 Shelby Street,
Shelbyville, IN 46176, further described as a 1 level house. The dwelling is mostly covered with
yellow siding, black shutters on the front window. The front porch is comprised of red brick and
red brick columns. The dwelling is located upon the east curb, third house south of the intersection
with Hendricks Street. The screen door is now brown in color. The number 314 is written out
“THREE FOURTEEN” in italics to the left of the front door. The property is located in the
Southern District of Indiana.




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The resident of the TARGET LOCATION is Mark Andrew Mazza, a white male, approximately
5’06”, with a date of birth in the year 1964, and a Social Security Number ending in 7941. Mazza
is depicted below.




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                                        Attachment B

                    PROPERTY AND EVIDENCE TO BE SEIZED
    The items, documents, records, and material to be seized are fruits, evidence, relating to
violations of 18 U.S.C. §1512(c)(2) (Obstruction of a Congressional Proceeding and of a Grand
Jury Proceeding); 18 U.S.C. §§ 1752(a)(1), (2) (4) and (b)(1) (Activity on Restricted Grounds
While Armed) 40 U.S.C. § 5104(e)(1)(A)(i), (2)(D) and (F) (Restricted Activity on U.S. Capitol
Grounds, including possessing a firearm); 18 U.S.C. § 231(a)(3) (Civil Disorder); 18 U.S.C. §
111(a)(1) and (b) (Assaulting, Resisting, or Impeding Certain Officers or Employees while armed);
22 D.C. Code §4504 (Carrying a Pistol without a License), and 7 D.C. Code §§ 2502.01
(Unregistered Firearm), and 2506.01 (Unregistered Ammunition (“Subject Offenses”) as
described in the search warrant affidavit, including, but not limited to:

   1. Information which indicates Mazza committed or participated in any of the above Subject
       Offenses;
   2. All evidence, records, notebooks and material showing Mazza’s location on January 6,
       2021, including travel records, receipts and information related to travel to the District of
       Columbia;
   3. Information that constitutes evidence concerning persons who either (i) collaborated,
       conspired, or assisted (knowingly or unknowingly) the commission of the criminal activity
       under investigation; or (ii) communicated with Mazza about matters relating to the criminal
       activity under investigation, including records that help reveal their whereabouts;
   4. Information that constitutes evidence concerning unlawful presence, entering, or remaining
       on the grounds and within the buildings of the U.S. Capitol;
   5. Information that constitutes evidence concerning the possession of firearms, including any
       firearms, ammunition, and gun paraphernalia, including but not limited to, any receipts,
       photographs, emails, documents, records and material showing ownership of firearms or
       the Taurus Revolver;
   6. All firearms, ammunition, batons and asps, and information about their ownership;
   7. Information that constitutes evidence concerning any assault of a federal law enforcement
       officer, or other person on January 6, 2021;
   8. Information, videos, and photographs related to the attack on the U.S. Capitol on January
       6, 2021, including evidence concerning persons or groups constituting an assemblage or
       procession of persons on the United States Capitol Grounds where they are uttering loud,
       threatening, or abusive language, or engaged in disorderly or disruptive conduct, at any
       place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt,
       or disturb the orderly conduct of a session of Congress or either House of Congress, or the
       orderly conduct in that building of a hearing before, or any deliberations of, a committee
       of Congress or either House of Congress, and persons or groups conducting an unlawful
       parade, demonstration, or picketing in any of the Capitol Buildings;
   9. Records, including writings, photographs, and videos that constitute evidence of a person’s
       location on the grounds and within the buildings of the U.S. Capitol;
   10. All records, writings, documents, letters, emails, correspondence, notes and notebooks
       discussing the events of January 6, 2021, or which evidence Mazza’s state of mind on
       January 6, 2021 or his intent to obstruct a pending law enforcement or grand jury

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       investigation, including, but not limited to his intent on January 8, 2021 (when he first filed
       a false police report regarding his firearm) and March 25, 2021 (when he was interviewed
       by law enforcement);
   11. Evidence related to Mazza’s false statements to local law enforcement and the U.S. Capitol
       police, including Mazza’s contacts before and after communicating with law enforcement;
   12. Clothing matching those that Mark Andrew Mazza was wearing on January 6, 2021,
       including, but not limited to any property that meets the following description:
               a.      Red, white and blue in color baseball cap with the work “TRUMP” across
              the front of the hat in large red letters;
               b.      Tan in color jacket;
               c.      Tan in color cargo-style style pants.
               d.      Blue in color hooded sweatshirt, with a yellow emblem on the left breast
              and a white emblem on the right breast.
               e.      Shoulder gun holster; and
               f.      Metallic color glasses with possible auto-tint feature.

     The above records, information, and material can be recovered from any safe, box, or closed
container at the Target Location. If law enforcement has specific reason to believe that any
electronic device, computer, mobile device, or electronic storage device contains responsive
materials (e.g., the item is marked 1/6/21, or a witness identifies the item as containing electronic
responsive material), it may seize those items from the location, but will seek additional legal
process from this Court or another court of competent jurisdiction before searching that material
(if consent to search is not obtained).




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF:
 314 SHELBY STREET, SHELBYVILLE,
                                                       SW No. 21-sw-391
 INDIANA UNDER RULE 41


               AFFIDAVIT IN SUPPORT OF AN APPLICATION UNDER RULE 41
                       FOR A WARRANT TO SEARCH AND SEIZE

          I, Richard Larity, being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

          1.      I am a Special Agent with the United States Capitol Police (USCP), where I have

served since January 2002. I am currently assigned to the Investigations Division, Criminal

Investigations Section. I have attended the Criminal Investigator Training Program at the Federal

Law Enforcement Training Center in Glynco, Georgia.            I have received training and gained

experience in arrest and search warrant applications, the executions of arrest and search warrants,

and various other relevant training. In my current assignment, I have been involved in numerous

cases involving the assaulting, resisting or impeding certain officers or employees.

          2.      This affidavit is based on my own investigation, oral and written reports by other

law enforcement officers, physical surveillance, interviews, database and public records checks,

searches, and other investigation. This affidavit is intended to show merely that there is sufficient

probable cause for the requested warrant and does not set forth all of my knowledge about this

matter.

                                   PURPOSE OF AFFIDAVIT


          3.      I make this affidavit in support of an application under Rule 41, Federal Rules of

Criminal Procedure, for search warrants for the premises and real property at 314 Shelby Street,
        Case 1:21-sw-00391-RMM Document 1 Filed 11/16/21 Page 10 of 67




Shelbyville, IN 46176 (“TARGET LOCATION”), as more particularity described in Attachments

A (Attached hereto and incorporated by reference as if fully set forth herein); for any evidence,

fruits of the crime, contraband and instrumentalities of crimes committed by Mark Andrew Mazza

(Mazza).

       4.      For the TARGET LOCATION to be searched, I request authority to search all parts

of the property, including main structure, storage structures, outbuildings, and curtilage, and all

persons, containers, compartments, filing cabinets, drawers, or safes located on the property,

whether locked or not, where the items described in Attachment B (list of items to be seized) could

be found.

       5.      On November 12, 2021, The Honorable Magistrate Judge Zia Faruqui of the United

States District Court for the District of Columbia signed issued an arrest warrant for Mazza and

signed a Criminal Complaint that charged Mazza with violations: 18 U.S.C. §1512(c)(2)

(Obstruction of a Congressional Proceeding and of a Grand Jury Proceeding); 18 U.S.C. §§

1752(a)(1), (2) (4) and (b)(1) (Activity on Restricted Grounds While Armed) 40 U.S.C. §

5104(e)(1)(A)(i), (2)(D) and (F) (Restricted Activity on U.S. Capitol Grounds, including

possessing a firearm); 18 U.S.C. § 231(a)(3) (Civil Disorder); 18 U.S.C. § 111(a)(1) and (b)

(Assaulting, Resisting, or Impeding Certain Officers or Employees while armed); 22 D.C. Code

§4504 (Carrying a Pistol without a License), and 7 D.C. Code §§ 2502.01 (Unregistered Firearm),

and 2506.01 (Unregistered Ammunition). for criminal conduct related to the Capitol Riot on

January 6, 2021 (collectively, hereafter, the Subject Offenses).1 See United States v. Mark Andrew

Mazza, 21-MJ-0655 (ZMF).




                                                2
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       6.      As this Affidavit is submitted only to establish probable cause for the requested

warrant, I have set forth only the facts that I believe are essential for a fair determination of

probable cause for the requested warrant. This affidavit does not purport to set forth all of my

knowledge or all facts known to law enforcement concerning this investigation.

                                JURISDICTION AND VENUE


       7.      Pursuant to Federal Rule of Criminal Procedure 41(b)(3) this Court has authority

to issue a search warrant outside of the District of Columbia in investigations of domestic

terrorism. Specifically

       A magistrate judge – in an investigation of domestic or international terrorism – with
       authority in any district in which activities related to the terrorism may have occurred has
       authority to issue a warrant for a person or property within or outside that district.

Id. This provision was added in 2002 as part of amendments that incorporated Congressional

changes to this Rule under the USA PATRIOT ACT. As explained by the Rules Committee, “The

provision explicitly addresses the authority of a magistrate judge in an investigation of domestic

or international terrorism. As long as the magistrate has authority in a district where activities

related to terrorism may have occurred, the magistrate judge may issue a warrant for persons or

property not only within the district, but outside the district as well.” See Federal Criminal Code

and Rules (Thompson Reuters) at 168 (2018 Revised Ed.). The term “domestic terrorism” as used

in the Rule (id. at Rule 41(a)(2)(D) is the same as it is in 18 U.S.C. §2331, and means,

       Activities that
       (A)     involve acts dangerous to human life that are a violation of the criminal laws of the
               United States or of any state;
       (B)     appear to be intended to . . . (ii) to influence the policy of a government by
               intimidation or coercion; or (iii) to affect the conduct of a government by mass
               destruction, assassination or kidnapping; and
       (C)     occur primarily in the territorial jurisdiction of the United States.

18 U.S.C. §2331 (5).


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          8.    As discussed below, the United States and a grand jury in this District, are

investigating acts of domestic terrorism that relates to an attack on the U.S. Capitol in the District

of Columbia on January 6, 2021. This investigation involves acts of domestic terrorism because

persons under investigation in this matter were: (1) involved in violence with dangerous and deadly

weapons directed at law enforcement officers, members of Congress, and the Vice-President of

the United States, in violation of numerous federal and D.C. laws; (2) the subjects under

investigation indicated they intended to change and influence the policy of the United States

regarding the lawful Presidential Succession, which is determined in accordance with federal law

and the U.S. Constitution, using coercive and intimidating acts (which included direct violence

and continued threat of violence if the U.S. Congress reassembled); (3) subjects under

investigation indicated they were attempting to affect the conduct of the U.S. Congress that was

voting on the certification of the Electoral College for the lawful Presidential Succession by direct

violence, including the kidnapping or murder of the Vice-President of the United States; and (4)

the activities under investigation occurred primarily in the territorial jurisdiction of the United

States.

          9.    Your affiant understands This Court has previously authorized a search warrant in

this investigation under Rule 41(b)(3) in In re the Matter of the Search of One Apple iPhone Under

Rule 41, 21-SW-253.

                                      PROBABLE CAUSE

                       Background – The U.S. Capitol on January 6, 2021


          10.   The USCP, the FBI, and assisting law enforcement agencies are investigating a riot

and related offenses that occurred at the United States Capitol Building, located at 1 First Street,

NW, Washington, D.C., 20510 at latitude 38.88997 and longitude -77.00906 on January 6, 2021.

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       11.       At the U.S. Capitol, the building itself has 540 rooms covering 175,170 square feet

of ground, roughly four acres. The building is 751 feet long (roughly 228 meters) from north to

south and 350 feet wide (106 meters) at its widest point. The U.S. Capitol Visitor Center is 580,000

square feet and is located underground on the east side of the Capitol. On the west side of the

Capitol building is the West Front, which included the inaugural stage scaffolding, a variety of

open concrete spaces, a fountain surrounded by a walkway, two broad staircases, and multiple

terraces at each floor. On the East Front are three staircases, porticos on both the House and Senate

side, and two large skylights into the Visitor’s Center surrounded by a concrete parkway. All of

this area was barricaded and off limits to the public on January 6, 2021.

       12.       The U.S. Capitol is secured 24 hours a day by USCP. Restrictions around the U.S.

Capitol include permanent and temporary security barriers and posts manned by USCP. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       13.       On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       14.       On January 6, 2021, a joint session of the United States Congress convened at the

U.S. Capitol.     During the joint session, elected members of the United States House of

Representatives and the United States Senate were meeting in separate chambers of the U.S.

Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election, which

took place on November 3, 2020 (Certification). The joint session began at approximately 1:00

p.m. Eastern Standard Time (EST). Shortly thereafter, by approximately 1:30 p.m., the House and

Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the joint session, and then in the Senate chamber.




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       15.     As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and USCP were present and attempting to keep the crowd

away from the Capitol building and the proceedings underway inside.

       16.     At around 1:00 p.m. EST, known and unknown individuals broke through the police

lines, toppled the outside barricades protecting the U.S. Capitol, and pushed past USCP and

supporting law enforcement officers there to protect the U.S. Capitol.

       17.     At around 1:30 p.m. EST, USCP ordered Congressional staff to evacuate the House

Cannon Office Building and the Library of Congress James Madison Memorial Building in part

because of a suspicious package found nearby. Pipe bombs were later found near both the

Democratic National Committee and Republican National Committee headquarters.

       18.     Media reporting at the time of the riot showed a group of individuals outside of the

Capitol chanting, “Hang Mike Pence.”

       19.     At approximately 2:00 p.m., some people in the crowd forced their way through,

up, and over the barricades and law enforcement. The crowd advanced to the exterior façade of

the building. The crowd was not lawfully authorized to enter or remain in the building and, prior

to entering the building, no members of the crowd submitted to security screenings or weapons

checks by U.S. Capitol Police Officers or other authorized security officials. At such time, the

certification proceedings were still underway, and the exterior doors and windows of the U.S.

Capitol were locked or otherwise secured. Members of law enforcement attempted to maintain

order and keep the crowd from entering the Capitol.




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       20.     Shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

crowd encouraged and assisted those acts. Publicly available video footage shows an unknown

individual saying to a crowd outside the Capitol building, “We’re gonna fucking take this,” which

your affiant believes was a reference to “taking” the U.S. Capitol.




       21.     Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. That is, at or about this time,

USCP ordered all nearby staff, Senators, and reporters into the Senate chamber and locked it down.

USCP ordered a similar lockdown in the House chamber. As the subjects attempted to break into

the House chamber, by breaking the windows on the chamber door, law enforcement officers were

forced to draw their weapons to protect the victims sheltering inside.


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          22.   At approximately 2:30 p.m. EST, known and unknown subjects broke windows and

pushed past USCP and supporting law enforcement officers forcing their way into the U.S. Capitol

on both the west side and the east side of the building. Once inside, the subjects broke windows

and doors, destroyed property, stole property, and assaulted federal police officers. A significant

number of federal police officers sustained injuries during the riot. The subjects also confronted

and terrorized members of Congress, Congressional staff, and the media. The subjects carried

weapons including tire irons, sledgehammers, bear spray, and Tasers. They also took police

equipment from overrun police including shields and police batons. At least one of the subjects

carried a handgun with an extended magazine. These actions by known and unknown individuals

resulted in the disruption and ultimate delay of the vote Certification.

          23.   Also at approximately 2:30 p.m. EST, USCP ordered the evacuation of lawmakers,

Vice President Mike Pence, and president pro tempore of the Senate, Charles Grassley, for their

safety.

          24.   At around 2:45 p.m. EST, subjects broke into the office of House Speaker Nancy

Pelosi.

          25.   At around 2:47 p.m., subjects broke into the United States Senate Chamber.

Publicly available video shows an individual asking, “Where are they?” as they opened up the door

to the Senate Chamber. Based upon the context, law enforcement believes that the word “they” is

in reference to members of Congress.




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       26.    After subjects forced entry into the Senate Chamber, publicly available video shows

that an individual asked, “Where the fuck is Nancy?” Based upon other comments and the context,

law enforcement believes that the “Nancy” being referenced was the Speaker of the House of

Representatives, Nancy Pelosi.




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       27.     A person who entered the Capitol with the other rioters left a note on the podium

on the floor of the Senate Chamber. The note, filmed by a reporter, stated “It’s Only a Matter of

Time Justice is Coming.” The person who left the note was subsequently identified by law

enforcement, and that person’s identity is known to your affiant.




       28.     During the riot, multiple subjects were observed inside the U.S. Capitol wearing

what appear to be tactical vests and carrying flex cuffs. Based upon my knowledge, training and

experience, I know that flex cuffs are a manner of restraint that are designed to be carried in

situations where a large number of individuals were expected to be taken into custody.




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       29.     At around 2:48 p.m. EST, DC Mayor Muriel Bowser announced a citywide curfew

beginning at 6:00 p.m.

       30.     At around 2:45 p.m. EST, one subject was shot and killed while attempting to break

into the House chamber through the broken windows.

       31.     At about 3:25 p.m. EST, law enforcement officers cleared the Senate floor.

       32.     Between 3:25 p.m. and around 6:30 p.m. EST, law enforcement officers were able

to clear the U.S. Capitol of all unauthorized entrants.

       33.     Based on these events, all proceedings of the United States Congress, including the

joint session, were effectively suspended until shortly after 8:00 p.m. the same day. In light of the

dangerous circumstances caused by the unlawful entry to the U.S. Capitol, including the danger

posed by individuals who had entered the U.S. Capitol without any security screening or weapons

check, Congressional proceedings could not resume until after every unauthorized entrant had left

the U.S. Capitol, and the building had been confirmed secured. The proceedings resumed at

approximately 8:00 pm after the building had been secured. Vice President Pence remained in the

United States Capitol from the time he was evacuated from the Senate Chamber until the session

resumed.

       34.     Beginning around 8:00 p.m., the Senate resumed work on the Certification.

       35.     Beginning around 9:00 p.m., the House resumed work on the Certification.

       36.     Both chambers of Congress met and worked on the Certification within the Capitol

building until approximately 3 a.m. on January 7, 2021.

       37.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of




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violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

       38.     Based on my training and experience, I know that it is common for individuals to

carry and use their cell phones during large gatherings, such as the gathering that occurred in the

area of the U.S. Capitol on January 6, 2021. Such phones are typically carried at such gatherings

to allow individuals to capture photographs and video footage of the gatherings, to communicate

with other individuals about the gatherings, to coordinate with other participants at the gatherings,

and to post on social media and digital forums about the gatherings.

       39.     Many subjects seen on news footage in the area of the U.S. Capitol are using a cell

phone in some capacity. It appears some subjects were recording the events occurring in and

around the U.S. Capitol and others appear to be taking photos, to include photos and video of

themselves after breaking into the U.S. Capitol itself, and photos of themselves damaging and

stealing property. As reported in the news media, others inside and immediately outside the U.S.

Capitol live-streamed their activities on various social media platforms.

                                     Facts Specific to Mazza

       40.     Since January 6, 2021, there has been an active federal investigation into the events

surrounding the Capitol Riots. That investigation has gathered a significant amount of evidence

and data, including data identifying electronic devices and cellular telephones in use around the

U.S. Capitol on January 6, 2021. A federal grand jury investigation in the District of Columbia

was also initiated shortly thereafter in January 2021.

       41.     Your affiant is aware that on January 6, 2021, at approximately 2:30 p.m., a large

crowd, including an unidentified individual (S-1), unlawfully climbed atop the wooden platform

erected for the upcoming presidential inauguration on the grounds of the U.S. Capitol and in front

of the U.S. Capitol building. S-1 attempted to physically overtake a uniformed U.S. Capitol Police

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(USCP) Sergeant (USCP Sergeant) who was attempting to keep the individuals from the U.S.

Capitol Building. S-1 grabbed and pushed USCP Sergeant backwards. The USCP Sergeant

defended himself by using defensive techniques with a USCP issued baton. During this encounter,

S-1 fell face down upon the wooded platform and when doing so, an object fell from S-1’s front

waistband area of his pants, landing at the feet of the USCP Sergeant. This object was clearly a

firearm, in particular a pistol, and was picked up by the USCP Sergeant to remove the threat. The

USCP Sergeant subsequently inspected the firearm, located a serial number, and identified it as a

loaded Taurus revolver branded as the “The Judge” (Taurus Revolver).

       42.     After the USCP Sergeant recovered the firearm that had fallen from the individual’s

waistband, S-1 fled the area with the assistance of others in the large crowd who blocked the USCP

Sergeant and other law enforcement officers. While S-1 was not apprehended, the subsequent

USCP investigation has led your affiant to conclude S-1 was Mark Andrew Mazza.

       43.     On January 7, 2021, the Criminal Investigations Section of the U.S. Capitol Police

was notified by a U.S. Capitol Police Sergeant (CW-1), that while supervising and being a member

of the U.S. Capitol Police Civil Disturbance Unit (CDU) on January 6, 2021, CW-1 had been

assaulted by an unidentified protester (S-1). CW-1 indicated he was on the West Front Terrace

area at approximately 2:30 PM, when persons broke through the police line at the area near the

steps of the U.S. Capitol building. CW-1 further stated that S-1, with others, attempted to

physically overtake CW-1 and other members of the CDU who were attempting to stop them.

CW-1 stated that S-1 grabbed him with both hands and pushed CW-1 backwards. CW-1 defended

himself and struck S-1 with his baton, who then fell face down upon a wooden platform and when

doing so, an object fell from the S-1’s waistband area of his pants, landing at the feet of CW-1.

CW-1 indicated the object was clearly a firearm, that being a pistol, and CW-1 picked up the



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weapon to remove the threat from other persons who were still assaulting law enforcement officers.

Shortly thereafter, CW-1 inspected the Taurus Revolver, located a serial number, and identified it

as a loaded Taurus “The Judge” revolver, which contained five (05) rounds of live ammunition.

The ammunition consisted of three (3) .410 gauchge shotgun shells and two (2) .45 caliber hollow

point rounds. Your affiant is aware that the Taurus Revolver is one of a few handguns that can

fire both shotgun shells and regular bullets through the barrel. When shotguns shells are fired

through such a pistol, the effect is similar to the discharge of a short barreled or sawed-off shotgun.

Your affiant is also aware that hollow point rounds expand on impact and can be more lethal than

regular bullets. The fact that the Taurus Revolver also contained shotguns shells indicates an intent

to be able to use the weapon against multiple targets at the same time.

       44.     CW-1 said that after CW-1 recovered the Taurus Revolver, S-1 fled the area with

assistance of others in the large crowd who blocked W-1 and other law enforcement officers,

preventing S-1 from being apprehended. CW-1 then had the Taurus Revolver processed and

placed into evidence by the U.S. Capitol Police Crime Scene Unit. The Taurus Revolver was

fingerprinted and swabbed for DNA.

       45.     On January 11, 2021, your affiant initiated a criminal investigation and performed

an ATF-E-Trace of the Taurus Revolver’s serial number. On January 11, 2021, the serial number

of the Taurus Revolver was checked against the records of the Gun Registration Unit within the

District of Columbia, Metropolitan Police Department. This check revealed that no certificate of

firearms registration, a prerequisite for firearms possession in the District of Columbia, existed for

the Taurus Revolver. A check of the National Crime Information Center (NCIC) law enforcement

data base revealed that the Taurus Revolver was not reported to be stolen from any jurisdiction at

that time.



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       46.     On January 28, 2021, I was contacted by the Alcohol Tobacco & Firearms (ATF)

and was advised that that the Taurus Revolver had been reported stolen by Mark Andrew Mazza

on January 8, 2021, to the Shelbyville Police Department in the state of Indiana. An additional

search of the ATF E-Trace on that same date revealed that the firearm’s original purchaser was

listed as Mazza, with a specific address located in Franklin, Indiana.

       47.     According to the Shelbyville Police Department, on or about January 8, 2021,

Mazza called the department from telephone number 317-727-7593, and claimed that his Taurus

Revolver had been stolen. According to Mazza’s statement to the Shelbyville Police Department,

Mazza claimed to have left his Taurus Revolver in his rental car when he arrived at the Hard Rock

Casino in Cincinnati, Ohio, on January 5, 2021, at approximately 10:30 am. Mazza stated that he

then went into the casino, and when he returned to the car on January 6, 2021, at 12:00 am, the

Judge Revolver was missing.

       48.     Mazza further stated to the Shelbyville Police Department that he drove home from

Ohio to Shelbyville, IN, on January 6, 2021, because he did not want to report the missing firearm

to the casino police, and after arriving home, he went to bed because he was tired. Mazza also

stated that he did not have the firearms serial number at the time, but he would update the

Shelbyville Police Department once he had it. On or about January 18, 2021, Mazza provided the

firearms serial number to the Shelbyville Police Department, and it was entered on the same day

into the NCIC database as having been reported stolen on January 6, 2021. The serial number

matched the serial number of the Taurus Revolver dropped by S-1 and recovered at the U.S.

Capitol on January 6, 2021.

       49.     Further criminal investigation confirmed Mazza’s cell phone was an Apple iPhone

with cellular provider AT&T, with the same mobile telephone number that Mazza used to report



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the theft of the Taurus Revolver. Mazza’s subscriber records further confirmed the same address

as Mazza’s Residence. Based on driver’s license information, and the most recent DMV picture

of Mazza from 2017, Mazza is a white male, 56 years old, with short brown hair, and brown/white

goatee. Mazza was further identified as having a residence in Shelbyville, IN with the same

address as the TARGET LOCATION.

       50.     A photo array containing nine (9) photos, one being the above described DMV

photo of Mazza, was presented to CW-1 on January 28, 2021, to identify S-1. Upon presentation

of the array CW-1 was told the pictures of the individuals may appear different than they may be

in real life and may include different facial hair or color hair. The driver’s license photograph

shows Mazza as a white male, approximately 56 years old, with a goatee, brown/white facial hair,

and was taken approximately in 2017. The image of Mazza used in the array is as follows:




       CW-1 did not identify Mazza from the nine (9) photos, but looked closely at one photo (S-

2), not Mazza, who is a white male, approximately 37 years old, and had a full beard, red / brown

in color. S-2’s picture in the array was:



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         CW-1 indicated that other person “looks very close to what I can recall,” and “I want to

say this guy because he was wearing a hat. I will stick to this guy.” CW-1 was asked if he was

positive, and he stated that he was not. CW-1 further stated, “It’s real fricking hard, he had this

look.”

         51.    In February 2021, a search warrant was obtained for records for the telephone

number that Mazza used to report the Taurus Revolver stolen. The search warrant was directed to

AT&T and requested, among things, geolocation information. Records supplied by AT&T

pursuant to the search warrant confirmed that the phone that Mazza owned and used was an Apple

7 iPhone with an International Mobile Equipment Identity (IMEI) that starts with 355342088528.

A review of the cell towers used by Mazza’s phone on January 6, 2021, further confirmed that

Mazza’s phone was utilizing cell towers providing service in the area around the United States

Capitol at the time of attack on the U.S. Capitol. The records also indicate that Mazza’s phone

was present in Ohio on January 5, 2021, and other states that indicate that Mazza traveled to

Washington, D.C. on January 6, 2021, and then returned to Indiana shortly thereafter. These



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records confirm that Mazza was in Washington, D.C. on January 6, 2021, which is contrary to

Mazza’s statement to the Shelbyville Police Department when he reported his Taurus Revolver

stolen.

          52.   Further online investigation led to the discovery of a Twitter account with the user

name        “@MarkNunzios64”          and     the        display   name       “Mark      Mazza”     at

https://twitter.com/marknunzios64.          Also    discovered     was    a   Facebook    account   at

https://www.facebook.com/markMazza1964.             Subpoenas to Twitter and Facebook revealed

Mazza supplied both platforms his iPhone’s telephone number and his email address.

          53.   During a review of materials on the public feed of Mazza’s Twitter account, your

affiant observed a video that your affiant is aware was taken during the riot on January 6, 2021,

from the area of the upper west Terrace of the U.S. Capitol Building, and area restricted to

authorized persons only on January 6, 2021. The video depicted protesters entering the U.S.

Capitol Building through a broken window on the west side Terrace of the U.S. Capitol. Screen

shots of that video are as follows:




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       54.    A search warrant for the Twitter account confirmed that Mazza uploaded the above

video to his own Twitter account. Specifically, the video was shared using “Twitter for iPhone”

application that I know to be used on the Apple iPhone. Cell tower records placing Mazza’s phone

near the U.S. Capitol on January 6, 2021, are consistent with my conclusion that Mazza was

filming the events live at that time and location, and posting those videos to Twitter, using his

Apple iPhone. Also found on the Twitter account were a number of self-portraits, commonly




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known as “selfies,” that appear to have been taken by Mazza on January 6, 2021. One of the

images is as follows:




       55.     On or about March 25, 2021, your affiant and a Supervisory Special Agent from

the U.S. Capitol Police (SSA) traveled to Shelbyville, IN, to attempt to conduct a non-custodial

interview of Mazza at his home. Your affiant also obtained a search warrant to obtain and search

Mazza’s cellular phone from Mazza’s person and/or his residence. On March 29, 2021, your

affiant and the SSA went to Mazza’s residence (Target Location) and encountered Mazza outside

his residence. As the SSA and I approached Mazza, we identified ourselves as United States

Capitol Police investigators, to which Mazza replied, “Capitol Police… I was there… so were a



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million other people.” Your affiant informed Mazza about the search warrant for his property and

asked to speak to him as the search warrant was being executed. Mazza agreed to speak to us if

the interview took place on the front porch of his residence. Mazza was not taken in custody,

handcuffed, or otherwise physically restrained during the interview.

       56.     Mazza was advised during the interview that he did not have to speak with myself

or the SSA, and that the interview was completely voluntary. He was further warned not to make

any false statements or “lie.” The interview commenced at 4:28 P.M., and was audio recorded with

a handheld recorder. Mazza was asked to describe how his firearm was stolen and he replied

“uhhh… do you want the official version?” and “I had it on me and I had stopped the crowd, ok,

they were trying to get in. I don’t even know what entrance that is… you got the main entrance…

the other side.” Mazza further stated “that’s where we all went… we were all there up on top

everywhere.” Mazza was asked to clarify what he meant by “where” and replied “the Capitol.”

       57.     During the interview Mazza indicated he participated in the “Stop the Steal” Rally,

and he went on to describe that when he got to the U.S. Capitol building, that there was a window

broken out on the side of the entrance, a line of people trying to force their way in the entrance,

and other people trying to break another window. Mazza stated, “We kept trying to pull them back

down… we didn’t want any of that.”

       58.     Mazza further stated that he got to the “hallway,” which was where everyone was

getting pepper sprayed. Mazza stated “I go in the hallway because this is bullshit, what are we

trying to do?” Mazza added, “Me and my buddy said, ‘what are they doing here?’… We knew it

was Antifa because we are law abiding citizens, we don’t do that… we don’t loot.” Mazza went

on to state that he “got up there,” that there were two glass doors open and eight cops with

protestors. Mazza claimed to have stopped both sides and announced to the crowd, “What the hell



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are we doing? You’re not gonna let us in and they said no… And you guys… what do you want?

We’re not gonna hurt anybody. We’re not here for that.” Mazza then claimed that he, “had this

door in my hand, I looked at the cop, I was getting ready to shut the door because there was another

guy holding this one with his foot.” Mazza stated that he looked up and saw a cop who raised his

bear spay prompting Mazza to say, “I’m out!” Mazza claimed to jump behind the door as everyone

else got sprayed. Mazza stated that he was “caught…smashed into the door, I’m assuming it was

a shoulder holster… the snap… I felt it come undone and I couldn’t get my hands down.” Mazza

added, “By the time I was forced out of the tunnel, it was gone.” Mazza asked, “What am I gonna

do? I couldn’t get back in there… the police had pushed their way out, and I thought, well then

they just picked it up.” Mazza continued, “I was hoping… someone saw it and said we gotta get

that now.” Mazza was asked what type of firearm he brought, and he replied, “Taurus Judge, it

was a cammo with 45 long and 410 slugs.”

       59.     Mazza stated that he reported the gun stolen because in case something happened

and if Antifa found it, someone might get killed and my name is all over it. Mazza further stated,

“I did falsify a report…It’s missing, not stolen.” Mazza was asked, “When you were at D.C., did

you at any time assault any police officers?” Mazza replied, “No. In fact… I helped two of them.”

Mazza described helping a white officer with a beard and a black officer, both who had been

dragged out, and were being passed along. Mazza claimed to have grabbed both of the officers and

assisted in getting them out of there. Mazza was asked again, after being warned of multiple

cameras, “Did you at any point grab, push, shove, pull down a police officer?” Mazza replied that

he grabbed multiple people, including two cops, to get them out of there. Mazza stated, “No, I did

not injure anyone… didn’t swing, didn’t do nothing. I can barely make a fist because of my




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arthritis. I never injured any police officer or anyone… period.” Mazza was asked if had looked

up the firearms laws prior to traveling to D.C. and he replied that he did not.

       60.     Mazza was asked, “Is there anything you told us that you want to change or add

to?” Mazza replied, “It was cold as hell that day, that whole three days… never did get to talk to

Nancy… I thought Nan and I would hit it off.” Mazza continued, “I was glad I didn’t because

you’d be here for another reason and I told my kids that if they show up, I’m surrendering, nope

they can have me, because I may go down as a hero.” Mazza then added “I’m nonviolent, I’m a

patriot and it pisses me off to see where we’re at.” Mazza further stated that, “If you do have to

come back and take me, put me in a fed… I just want three squares and a nice clean room, someone

takes care of my healthcare and I’m good.”

       61.     A review of available video footage, from law enforcement and social media, was

conducted to identify Mazza and verify his claims. Your affiant has reviewed the video and

identified Mazza in U.S. Capitol Police security camera moving through the crowd and entering

the tunnel to the Lower West Terrace doors at approximately 3:08:29 p.m. During his initial

appearance in the video, Mazza is wearing a brown jacket, a blue and red “Trump” hat, and white

and dark colored scarf over his face. This clothing in the video further matches the selfie

photograph of Mazza from January 6, 2021, found on his social media account. As Mazza moves

through the tunnel area, his scarf drops, and his face is visible at numerous parts of the video. I

am able to identify Mazza based upon my own personal familiarity with Mazza. SSA further

reviewed the video and identified Mazza based on his familiarity with Mazza. The area covered

by the video footage is also consistent with the area that Mazza stated he went to during the attack

on the U.S. Capitol Riot.




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       62.     The video footage from the Lower West Terrace Doors shows that numerous

persons were assaulting officers at the front of the tunnel space, when Mazza appears into the

tunnel behind them. Images from the video footage include the following (with red circle added

to show Mazza’s location):




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       Mazza is then observed assisting the group of protesters by pushing with others from

behind, the group as a whole, towards D.C. Metropolitan Police Department Officers (MPD

Officers) who were assisting the U.S. Capitol Police and defending the Lower West Terrance door

entrance to the U.S. Capitol.     The MPD Officers were wearing helmets, body armor, and

distinctive police attire emblazoned with the words “police” and “Metropolitan Police

Department.” At least 15 MPD Officers were assisting in blocking the attack inside the tunnel at

the time of Mazza’s presence inside the tunnel area, and included: Sergeant W.B., Officer M.F.,

Officer N.M., Officer H.F., Officer J.P., Officer D.H., and Officer B.M.


       Images of Mazza assisting the pushing against officers is in the following images:




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       63.    The Lower West Terrace security footage shows that Mazza continued to the front

of the tunnel area with a baton in his hand, where he and others, assaulted the MPD Officers who

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were defending the front of the tunnel. A review of Body Worn camera (BWC) footage from

multiple MPD Officers who were defending the inside of the Lower West Terrace doors at

approximately 3:13:30 p.m. shows Mazza behind one of the glass doors. Mazza can be seen

holding the glass doors open for other protesters with his right hand while clenching a black baton

in his hand. As he held open the glass door, other rioters assaulted the MPD Officers who were

defending the tunnel entrance and resisting the protestors. In one video from and in the MPD

BWC, Mazza is seen at this same moment while he is holding the glass door open as rioters used

shields, flag poles, and batons as weapons to strike at and force their way through the MPD

officers. Images from one of the public videos include:




Mazza’s hand is shown below holding open the door as other rioters pushed forward to assault

multiple MPD Officers:




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       64.    Additional BWC footage from another DC metropolitan Police Officer revealed

Mazza actively swinging the baton at police officers @ approximately 3:15:45 p.m.



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       65.    At approximately 3:13:58 p.m., Mazza is also observed and recorded on multiple

videos as yelling at the officers, “This is our fucking house! We own this house! We want our

house!” Images from one of the videos is as follows:



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       66.    Shortly thereafter, Mazza is seen moving from the front of the tunnel, where he had

committed and witnessed violence against the MPD Officers, to the back of the tunnel area. There

Mazza showed other rioters his baton and pulled other rioters into the tunnel area to attack and

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push against the MPD Officers at the front of the tunnel, as many of the rioters yelled “heave-ho!”

These “heave-ho” efforts - by which multiple rioters collectively used their body mass for greater

force in pushing back officers, gaining momentum by leaning back and then pushing forward in

unison while chanting “heave-ho” to coordinate their efforts - resulted in significant physical force

and pressure being placed upon the MPD Officers at the front of the tunnel. While engaged in the

“heave-ho” efforts, Mazza was armed with the baton. An image from the video that shows Mazza

displaying the expandable baton for other rioters is below.




       Images showing Mazza pulling people into the tunnel area to assist it in the assault on

MPD Officers shortly thereafter include the following:




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       Images of the video showing Mazza pushing with the group yelling “heave-ho” while

armed with a baton include the following:




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       67.     Other images from the video showing Mazza inside the tunnel area without a

covering over his face include the following:




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       68.     Several minutes after enduring multiple “heave-ho” pushes from the rioters MPD

Officers moved forward to push the attackers from inside the tunnel area. As they did so, MPD

Officers M.F. and M.M. were dragged into the crowd, assaulted and beaten. Some rioters

eventually helped Officer M.F. back to the line of police officers, and Officer M.M. to escape from

the specific area. Video footage from the area indicates that Mazza had his baton extended in his

hand and was near Officers M.F. and M.M. as they were being pulled into the crowd. The video

footage reviewed does not show that Mazza assaulted either officer with the baton but suggests he

may have attempted to thwart other rioters from attacking the officers.


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       69.       Based on the above images and Mazza’s interview, during his actions on January

6, 2021, Mazza was wearing metallic colored glasses (that appear to have an auto tinting feature),

a red, white and blue Trump hat, a white and dark colored scarf, tan pants, a tan jacket, a dark

colored sweatshirt with markings on left and right side front, and a shoulder holster, and he was

armed with a collapsible dark colored baton and at least one firearm, that being the Taurus

Revolver (which he dropped at the scene) which was loaded with shotgun and hollow point

cartridges. Additionally, persons involved in the assault at the U.S. Capitol stole and took property

belonging to the United States government, including helmets, riot gear, shields gas masks, and

other property from inside the United States Capitol. This warrant authorizes seizure of any such

material found in the Target Location.

                                         CONCLUSION

       70.       I submit that this affidavit supports probable cause that Mazza has committed the

Subject Offenses and that the TARGET LOCATION described in Attachment A contains

evidence, fruits and instrumentalities of Mazza’s violations of the Subject Offenses, including, but

not limited to clothing Mazza wore on January 6, 2021, and all firearms, ammunition, and gun

paraphernalia.    It is respectfully requested that the court issue a search warrant to search the

TARGET LOCATION described in Attachment A, and seize the items described in Attachment

B.




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                                            Respectfully Submitted,
                                                                Digitally signed by Larity, Richard T.
                                                                DN: cn=Larity, Richard T.,
                                                                email=Richard.Larity@uscp.gov
                                                                Date: 2021.11.16 12:09:24 -05'00'



                                            Richard T. Larity
                                            Special Agent, United States Capitol Police

       Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3),by telephone, on this
16th day of November, 2021.

                                            _________________________________________
                                            ROBIN M. MERIWEATHER
                                            UNITED STATES MAGISTRATE JUDGE




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF:
                                                   SW No. 21-sw-391
 314 SHELBY STREET, SHELBYVILLE,
 INDIANA UNDER RULE 41
                                                   Filed Under Seal


 APPLICATION TO ISSUE AND SEAL SEARCH WARRANT UNDER RULE 41(B)(3),
    AFFIDAVIT IN SUPPORT, AND MEMORANDUM IN SUPPORT THEREOF

       The United States of America, by and through its undersigned counsel, respectfully submits

under seal this ex parte application for an Order issuing a warrant under Federal Rule of Criminal

Procedure 41(b)(3) and placing the above-captioned search warrant, and the application and

affidavit in support thereof, and all attachments thereto and other related materials such as this

application and order (collectively, the “Warrant”) under seal until further order of the Court. The

physical property above is located in the Southern District of Indiana. Nevertheless, venue exists

in the District of Columbia for a magistrate judge to issue a warrant in connection with this

property under Rule 41(b)(3) because the warrant relates to an investigation of domestic terrorism

that occurred in this district. Judge Zia Faruqui has previously authorized a physical search

warrant in this investigation -- that being the investigation into those were involved in the assault

on the U.S. Capitol on January 6, 2021-- under Rule 41(b)(3) after the government provided legal

briefing on the issue. See In re the Matter of the Search of One Apple iPhone Under Rule 41, 21-

SW-253 (ZMF). The government here in adopts the same argument provided therein.

                        EXPANDED VENUE UNDER RULE 41(B)(3)

       A.      Legal standard and definitions.

       To consider and issue the requested search warrant, this Court must assure itself that Rule

41(b)’s venue provision is satisfied. Under Rule 41(b), “venue” confers “jurisdiction” to issue a
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search warrant. See United States v. Thorne, No. CR 18-389 (BAH), 2021 WL 2682631, at *41

& n.16 (D.D.C. June 30, 2021) (noting that some courts have found that lack of “venue” under

Rule 41(b) means that the magistrate judge lacked “jurisdiction” to issue the warrant in the first

place). The Court must find that Rule 41(b)’s venue provision is satisfied pursuant to a “reason

to believe” standard. See id. at *30 (holding that a “reason to believe” standard, rather than

probable cause or actual knowledge, is the venue standard under Rule 41(b)(2)). 1

       Because this warrant relates to an investigation of domestic terrorism, this Court has

jurisdiction to issue it under Rule 41(b)(3), which provides:

       Venue for a Warrant Application. At the request of a federal law enforcement
       officer or an attorney for the government: . . . a magistrate judge—in an
       investigation of domestic terrorism or international terrorism—with authority in
       any district in which activities related to the terrorism may have occurred has
       authority to issue a warrant for a person or property within or outside that district.

       According to Rule 41(a)(2)(D), the phrase “domestic terrorism” in Rule 41(b)(3) has the

same definition as in 18 U.S.C. § 2331(5), which defines “domestic terrorism” as:

       activities that—

       (A) involve acts dangerous to human life that are a violation of the criminal laws
           of the United States or of any State;

       (B) appear to be intended—

                   (i)     to intimidate or coerce a civil population;
                   (ii)    to influence the policy of a government by intimidation or
                           coercion; or
                   (iii)   to affect the conduct a government by mass destruction,
                           assassination, or kidnapping; and



       1
         The government respectfully submits that the instant application also satisfies the higher
standard of probable cause.

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       (C) occur primarily within the territorial jurisdiction of the United States.

       B.      Under Rule 41(b)(3), the proper inquiry focuses on the investigation rather
               than the specific offenses for which evidence is sought.

       Under the plain terms of Rule 41(b)(3), to assure itself that it has jurisdiction to consider

and issue a warrant, the Court must determine whether there is reason to believe that the warrant

relates to a domestic terrorism investigation. As explained below, the proposed warrant for the

property does so.

       The Court need not—and should not—engage in an analysis to determine whether each

predicate offense for which the warrant establishes probable cause qualifies as “domestic

terrorism” or constitutes a “crime of terrorism.” The operative inquiry is whether the warrant

seeks evidence in a terrorism investigation.

       The plain language of Rule 41(b)(3) thus demonstrates that the relevant inquiry is whether

the warrant relates to an investigation of terrorism, rather than whether a particular predicate

offense satisfies a particular definition. This conclusion is buttressed by the structure of Rule 41,

the structure of subsection (b) of the Rule, other courts’ interpretations, and legislative history.

                    1. The plain language of Rule 41(b)(3) focuses on the investigation.

       Rule 41(b)(3) provides venue to a magistrate judge “in an investigation of . . . terrorism”

(so long as any “activit[y] related to the terrorism” occurred in the magistrate judge’s district).

The Rule is not offense-specific.

       Rule 41(a)(2)(D), which defines the phrase “domestic terrorism” by reference to Section

2331(5), encompasses “activities” rather than specified crimes. And Rule 41(b)(3) refers to

“investigation” of those “activities.” In other words, when the government seeks evidence in a

terrorism investigation and there is reason to believe that the property to be searched contains

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evidence of criminal “activities related to the terrorism,” Fed. R. Crim. P. 41(b)(3), nothing in

these provisions requires or authorizes the magistrate judge to limit the warrant to search for

evidence of certain specific crimes.

       Indeed, Rule 41 conspicuously does not reference the section of the U.S. Code that defines

“[f]ederal crime of terrorism,” 18 U.S.C. § 2332b(g)(5) (emphasis added).2 And other sections

of the U.S. Code make clear that Congress knew how to refer to a broad act of terrorism without

reference to a specific crime of terrorism. See, e.g., 18 U.S.C. § 226 (criminalizing bribery with

“intent to commit . . . terrorism” as defined in Section 2331); 18 U.S.C. § 1505 (enhancing penalty

for obstruction of proceedings if the “offense involves . . . terrorism” as defined in Section 2331);

18 U.S.C. § 1425 (enhancing penalty for unlawfully procuring citizenship “if the offense was

committed to facilitate an act of international terrorism” as defined in Section 2331); see also 18

U.S.C. § 981(a)(1)(G) (in different subsections of civil forfeiture statute, cross-referencing as

appropriate a “crime of terrorism” under Section 2332b(g)(5) or “any act of international

terrorism” under Section 2331).

       Like with these statutes, when Congress enacted Rule 41(b)(3) it made clear that the

triggering language was the act of terrorism (and here, the investigation into those acts) rather than

a specific crime of terrorism.

                   2. The structure of Rule 41 indicates that section (b) provides a
                      preliminary step to ensure the magistrate judge has jurisdiction to issue
                      the warrant.



       2
         One of the predicate offenses in the search warrant—18 U.S.C. § 1361 (destruction of
government property)—is, in this circumstance, a “[f]ederal crime of terrorism,” because it was
“calculated to influence or affect the conduct of government by intimidation or coercion,” 18
U.S.C. § 2332b(g)(5)(A), and it is enumerated under 18 U.S.C. § 2332b(g)(5)(B)(i).

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        The sections of Rule 41 set forth in logical, chronological fashion the procedure for issuing

a warrant. The Rule first explains who can issue a warrant and in what circumstances (sections

(b) and (c)), then how the warrant is issued and executed (sections (d), (e), and (f)), and finally

what to do with the warrant and the evidence after the seizure (sections (g), (h), and (i)).

        Section (b) is therefore the first step in the process, and it ensures that the magistrate judge

has jurisdiction to consider the warrant. Section (b) is not limited by the remaining sections of

Rule 41. To the contrary, once a magistrate judge determines that she has jurisdiction to consider

and issue the warrant—pursuant to one of the subsections of section (b), as described below—

there are no further limitations on the authority of the magistrate judge related to her jurisdiction

or the type of offense under investigation.

                   3. The structure of Rule 41(b) indicates that subsection (b)(3) is expansive.

        Section (b) provides a magistrate judge with jurisdiction to issue a warrant if certain

prerequisites are met. The first, and most common, is contained in subsection (b)(1), which grants

a magistrate judge jurisdiction to issue a warrant if the physical property or person is physically

located within the judicial district. Chief Judge Howell’s recent decision in Thorne, 2021 WL

2682631, at *30, explained that subsection (b)(1) provides a magistrate judge with territorial

jurisdiction, and that subsections (b)(2) through (b)(6) are best read as exceptions to territorial

jurisdiction.

        Subsections (b)(2) through (b)(6) expand the magistrate judge’s jurisdiction, granting her

the authority to issue warrants to search and seize property and persons who may be physically

located outside the judicial district. Subsection (b)(2) allows a magistrate judge to issue a warrant

for property or a person even if the property or person might be moved outside the district before


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the warrant is executed, and subsection (b)(4) similarly allows a magistrate judge to issue a warrant

to install a tracking device within the district even if the device is then moved out of the district.

Subsection (b)(5) provides a magistrate judge with jurisdiction to issue a warrant for property

located outside the legal jurisdiction of any state or district. And subsection (b)(6) grants a

magistrate judge jurisdiction to issue a warrant for remote access to search electronic storage media

and seize or copy electronically stored information, even if the media is stored outside the judge’s

district.

        Similar to its sister subsections, subsection (b)(3) expands the magistrate judge’s typical

territorial jurisdiction, giving her the authority to issue warrants to search and seize property and

persons who are physically located outside the judicial district so long as the warrant seeks

evidence in an investigation of terrorism.         By its plain terms, under Rule 41(b)(3), “in

investigations of domestic terrorism” (emphasis added), a magistrate judge has authority to issue

warrants for property located outside the district provided that “activities related to the terrorism

may have occurred” within the district. Rule 41(b)(3) is not cabined to evidence of specific

predicate offenses but rather provides jurisdiction for out-of-district property in terrorism

investigations. There is no limit in Rule 41(b)(3)—or, indeed, in any of the other Rule 41(b)

subsections—on a magistrate judge’s authority with respect to the offenses under investigation or

the types of items or information that a warrant may seek.

        Put differently, subsections (b)(1) and (b)(3) vest magistrate judges with venue in different

ways. Subsection (b)(1), the usual territorial venue provision, vests a magistrate judge with

jurisdiction to issue a warrant if the object of the warrant is physically located in the same judicial

district. Subsection (b)(3) vests a magistrate judge with jurisdiction to issue a warrant, regardless


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of the physical location of the item, if the magistrate judge is sitting in a judicial district in which

“activities related to the terrorism may have occurred.”

        Simply, under subsection (b)(3), a magistrate judge’s jurisdiction may be satisfied by the

location of the activities rather than the location of the evidence.

                    4. Judicial decisions support a broad reading of Rule 41(b)(3) to effectuate
                       its purpose.

        Instructively, two courts have issued written decisions addressing Rule 41(b)(3), and both

support an expansive reading of the magistrate judge’s jurisdiction. In addition, Chief Judge

Howell’s recent decision in a case involving Rule 41(b)(2) similarly supports an expansive

interpretation of subsection (b)(3).

        In United States v. Muhtorov, No. 12-CR-00033-JLK, 2017 WL 11367940, at *1 (D. Colo.

May 11, 2017), a magistrate judge in Colorado, pursuant to the authority granted by Rule 41(b)(3),

issued warrants for a person and certain property located in Pennsylvania. The defendant later

moved to suppress evidence obtained when the warrants were executed in Pennsylvania, calling

the warrants “illegal, extra-territorial” warrants. Id. The district judge rejected the argument,

holding that “Rule 41(b)(3) articulates the magistrate’s authority in terrorism cases, providing her

with authority to issue warrants outside her district as long as activities ‘related’ to terrorism ‘may’

have occurred in her own.” Id. at *2. The court did not identify any limitation on the types of

evidence that may be sought under Rule 41(b)(3), or the specific offenses that must be under

investigation. Rather, because the affidavit provided probable cause to believe that “activities

related to . . . terrorism may have occurred” in Colorado, under Rule 41(b)(3) the magistrate

judge “had geographic authority to issue the . . . search-and-seizure warrants” for property

physically located in Pennsylvania. Id.

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        In In re Search Warrant, 362 F. Supp. 2d 1298, 1301 (M.D. Fla. 2003), a magistrate judge,

in holding that 18 U.S.C. § 2703 did not confer jurisdiction to issue a warrant for out-of-district

property in a child pornography investigation, examined the text and legislative history of Rule

41(b)(3) to contrast it with Section 2703. According to the magistrate judge, while Section 2703

was narrow, Rule 41(b)(3) was broad: “there is no doubt that [Congress’s enactment of Rule

41(b)(3)] extended this Court’s authority to issue warrants to search and seize electronic

communications outside the district in terrorism cases.” Id. at 1303. While a district judge later

held that the magistrate judge did in fact have jurisdiction under Section 2703, In re Search

Warrant, No. 6:05MC168ORL31JGG, 2005 WL 3844032, at *4 (M.D. Fla. Feb. 13, 2006), the

district judge did not disturb the magistrate judge’s dicta regarding Rule 41(b)(3). In fact, both

judges expounded on the reasons for Congress’s passage of Rule 41(b)(3): to allow a magistrate

judge, in a terrorism investigation, to move quickly and efficiently in issuing a search warrant for

out-of-district property. Neither judge suggested that the magistrate judge’s jurisdiction was

limited to searches and seizures of evidence of terrorism offenses under Rule 41(b)(3) and both

determined that magistrate judges were granted broad authority to issue warrants for out-of-district

property in terrorism investigations or cases.

        Chief Judge Howell’s decision in Thorne similarly supports an expansive interpretation of

subsection (b)(3). In the context of cell-site simulators, the court recognized that an “overly

stringent interpretation of Rule 41(b)(2) . . . though consistent with the plain text of the Rule, would

. . . produce unreasonable outcomes and stymie law enforcement.” 2021 WL 2682631, at *32.

“The Fourth Amendment is silent as to the proper venue for seeking a search warrant, and its

constitutional threshold for the substantive warrant requirement of probable cause is therefore not


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automatically applicable to a determination of venue under Rule 41(b)(2).” Id. at *37. At

bottom, Chief Judge Howell emphasized that “the background principles animating a particular

Rule” should “inform a court’s approach to construing its text,” and therefore the venue provision

in Rule 41(b) should be read broadly to be consistent with Congress’s intent to account for the

practical and realistic needs of law enforcement. Id. at *34.

        Each court therefore recognized Congress’s intent to grant magistrate judges broad

jurisdictional authority in terrorism investigations to issue search warrants for property physically

located outside their districts.

                    5. The legislative history of Rule 41(b)(3) confirms that Congress intended
                       to provide magistrate judges with expansive jurisdiction in terrorism
                       investigations.

        Rule 41(b)(3)’s legislative history further supports a conclusion that a warrant need not be

limited to seeking evidence of terrorism offenses.       In 2001, with the passage of the USA

PATRIOT Act, Congress amended Rule 41 by

                inserting after “executed” the following: “and (3) in an investigation of
                domestic terrorism or international terrorism (as defined in section 2331 of
                title 18, United States Code), by a Federal magistrate judge in any district
                in which activities related to the terrorism may have occurred, for a search
                of property or for a person within or outside the district.”

Pub. L. 107–56, 115 Stat. 272, § 219 (Oct. 26, 2001). Indeed, the title of Section 219 of the USA

PATRIOT Act is “Single-Jurisdiction Search Warrants for Terrorism,” evidencing Congress’s

intent that, in terrorism investigations, the government should have the option of bringing warrant

applications to a single magistrate judge, even for evidence and property located outside the

district. Congress’s authorization to magistrate judges in terrorism investigations is broad and

clear: Congress expanded magistrate judges’ jurisdiction to extraterritorial warrants involving


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terrorism—period. Congress imposed no restriction over the specific crimes for which there

exists probable cause. Congress recognized that Rule 41(b)’s typical requirement “that a search

warrant be obtained within the judicial district where the property to be searched is located . . .

causes unnecessary delays and burdens law enforcement officers investigating terrorist activities

that have occurred across multiple judicial districts.” House Committee on the Judiciary, Report

on USA PATRIOT Act of 2001 to Accompany H.R. 2975, Rept. 107-236, Part 1, at p.72 (Oct. 11,

2002). Appreciating that “delays can have serious adverse consequences on an ongoing terrorism

investigation,” Congress amended Rule 41(b) “to provide that in an investigation of domestic or

international terrorism a search warrant can be obtained in any district court of the United States .

. . having jurisdiction over the offense being investigated.” Id.

       The intended purpose of Rule 41(b)(3) is therefore to ensure investigative efficiency and

expediency in terrorism investigations. Limiting the provision to confer jurisdiction only over

warrants seeking evidence of specific predicate terrorism offenses would frustrate that objective.

Terrorist activities commonly involve multiple overlapping crimes, which are not themselves

“terrorism offenses,” such as obstructing justice, money laundering, or conspiracy to defraud.

Requiring law enforcement to seek multiple search warrants in various districts depending on

where the property is located and to which predicate offense the evidence pertains is the precise

inefficiency the USA PATRIOT Act sought to remedy. In the wake of the September 11 terrorist

attack, Congress did not intend for investigating law enforcement agents to have to seek multiple

warrants in multiple jurisdictions based on the location of predicate offenses within the U.S.

Code—rather, Congress intended to consolidate warrant applications in a single jurisdiction to




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enable law enforcement the swift ability to obtain a magistrate judge’s approval to lawfully seize

evidence related to terrorism investigations.

       C.      Venue is proper under Rule 41(b)(3) in the instant matter.

       The instant search warrant establishes probable cause to believe that certain specified

offenses were committed, probable cause to believe that the property will contain evidence relating

to those offenses, and reason to believe that the warrant relates to an investigation of domestic

terrorism.

       The instant search warrant application is related to the government’s investigation of the

events on January 6, 2021, when a violent mob stormed the U.S. Capitol while a Joint Session of

the U.S. House of Representatives and the U.S. Senate were convened to certify the vote of the

Electoral College of the 2020 U.S. Presidential Election. The investigation of the January 6 attack

constitutes a domestic terrorism investigation as defined by Section 2331(5). First, as has been

well documented, the events of January 6 tragically “involve[d] acts dangerous to human life” that

were “a violation of the criminal laws of the United States or of any State.” 18 U.S.C. §

2331(5)(A). Indeed, the government has charged over 550 people with violations of federal law

in connection with the events of January 6 and over 150 people with assaulting or impeding law

enforcement. These charges include violations of 18 U.S.C. §§ 111(a) and (b) (assaulting,

resisting, or impeding certain officers using a dangerous weapon and inflicting bodily injury); 1752

(a)(1), (2) and (b)(1)(A) (entering and remaining in a restricted building or grounds with a deadly

or dangerous weapon and engaging in physical violence); and 18 U.S.C. § 5104(c)(2)(F) (violent

entry and disorderly conduct in a capitol building). The violence and danger to human life posed

by the actions that day is uncontroverted.


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        Likewise, the actions on January 6 “appear[ed] to be intended”—and in fact did—

“influence the policy of a government by intimidation or coercion.” At 2:20 p.m., members of

the House and Senate (including Vice President Pence) were evacuated from their respective

chambers. The Joint Session and the entire official proceeding of the Congress was halted while

Capitol Police and other law enforcement officers worked to restore order and clear the Capitol of

the unlawful occupants. As this Court has recognized, many of the individuals who comprised

the violent mob sought to “create[ ] mayhem on Capitol grounds and interfere[e] with the Capitol

Police, all in furtherance of the goal of disrupting Congress’s fulfillment of its constitutional duty

to certify the vote count of the Electoral College and thus interfering with—or even preventing—

the peaceful transition of power.” United States v. Chrestman, No. 21-MJ-218 (ZMF), 2021 WL

765662, at *9 (D.D.C. Feb. 26, 2021); see also United States v. Cua, No. 21-107 (RDM), 2021

WL 918255, at *3 (D.D.C. Mar. 10, 2021) (“[H]undreds . . . took over the United States Capitol;

caused the Vice President of the United States, the Congress, and their staffs to flee . . . ; engaged

in violent attacks on law enforcement officers . . . and delayed the solemn process of certifying a

presidential election. This was a singular and chilling event in U.S. history . . . .”).

        As the Court is aware, certain members of the mob that descended on the U.S. Capitol on

January 6, 2021 were armed, and they engaged in conduct dangerous to human life and intended

to influence the policy of a government by intimidation or coercion. As described in the affidavit

and referenced above, on January 6, 2021, the target, Mark Andrew Mazza, (“Mazza”), traveled

across state lines while armed with a special revolver that could fire shotgun shells and regular

cartridges.   Mazza armed the firearm with shotgun shells and hollow-point bullets and

participated in the riot on January 6, 2021. Mazza lost the firearm during the assault, but later


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armed himself with a collapsible baton in a tunnel pathway leading to the West Front Terrace door

of the U.S. Capitol. Mazza himself, along with dozens of others physically assaulted thee law

enforcement officers who were pushing back the insurgents: Mazza swung the collapsible baton

at the officers and yelled, “This is our fucking house! We own this house! We want our house!”

On January 6, 2021, Mazza also aided and abetted dozens of other rioters who were physically

assaulting the same officers: he did this by holding open the door to the U.S. Capitol while others

directly assaulted numerous law enforcement officers with weapons and their bodies, and by

participating in collective pushing by the rioters against the officers while yelling “heave-ho!”

Several law enforcement officers were injured during this activity.

       After January 6, 2021, Mazza obstructed justice by filing a false police report for the

weapon that he lost at the U.S. Capitol and claimed the firearm was stolen from his car in a casino

parking lot in Ohio. Mazza further provided false information to law enforcement officers who

interviewed him about his conduct on January 6, 2021, where he lied about being involved in any

violence or assaultive conduct towards law enforcement.

                                              ****

       Accordingly, the investigation into the attack on the United States Capitol on January 6,

which encompasses conduct by Mazza and others (including members of the Oath Keepers and

their associates), is a domestic terrorism investigation under Section 2331(5) because the conduct

under investigation includes criminal acts dangerous to human life that were intended to influence

the policy of the United States government by intimidation or coercion. As the attack on the

Capitol occurred in Washington, D.C., a magistrate judge in this judicial district “has authority to




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issue a warrant for a person or property within or outside th[e] district.” Fed. R. Crim. P. 41(b)(3)

(emphasis added).

                           LEGAL BACKGROUND FOR SEALING

       The Court has the inherent power to seal court filings when appropriate, including the

Warrant. United States v. Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citing Nixon v.

Warner Communications, Inc., 435 U.S. 589, 598 (1978)). See also, e.g., In re Sealed Affidavit(s)

to Search Warrants, 600 F.2d 1256, 1257 (9th Cir. 1979) (finding that the court has inherent power

to seal search warrant affidavits). Such sealing is within the discretion of the District Court. See

Nixon, 435 U.S. at 598 (common-law right to inspect and copy judicial records is not absolute, but

the decision whether to permit access is best left to the sound discretion of the trial court in the

light of the relevant facts and circumstances of the particular case).

       More particularly, the Court may seal the Warrant and related filings to prevent serious

jeopardy to an ongoing criminal investigation when, as in the present case, such jeopardy creates

a compelling governmental interest in preserving the confidentiality of the Warrant.             See

Washington Post v. Robinson, 935 F.2d 282, 287-89 (D.C. Cir. 1991).

       Courts have traditionally been “highly deferential to the government’s determination that

a given investigation requires secrecy and that warrant materials be kept under seal.” Times

Mirror Co. v. United States, 873 F.2d 1210, 1214 (9th Cir. 1989). Therefore, courts have

routinely granted government requests to seal warrant materials where there is a need for secrecy.

Id.; see also id. at 1215, 1219 n.13 (Sealed search warrant materials have been treated as the

functional equivalent of grand jury materials in their shared need for secrecy.). While courts may

disagree whether there even exists a qualified right under the common law or the First Amendment


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to access to sealed search warrant materials, 3 courts are in general agreement that a movant is not

entitled to access to sealed search warrant materials if disclosure would compromise an ongoing

investigation or endanger witnesses. See, e.g., id. at 1212-1221 (“warrant proceedings and

materials should not be accessible to the public, at least while a pre-indictment investigation is still

ongoing”); Baltimore Sun Co., 886 F.2d at 64 (“the need for sealing affidavits may remain after

execution and in some cases even indictment”); In re Search Warrants for National Builder Corp.,

833 F. Supp 644, 645-646 (N.D. Ohio 1993) (grand jury target was not entitled to the unsealing of

a search warrant affidavit if it would compromise an ongoing investigation).

                                    REQUEST FOR SEALING

         Such an Order is appropriate because the Warrant relates to an ongoing criminal

investigation that is neither public nor known to the subject(s) of the investigation. In particular,

an Arrest Warrant (which is under seal) has been issued for Mazza, and the nature and scope of

evidence available to law enforcement, as set forth in the search warrant affidavit, is neither public

nor known to the subject(s) of the investigation.          Accordingly, disclosure may reveal the

existence, scope, and direction of the Government’s ongoing and confidential investigation. Once

alerted to the investigation and the scope of such evidence available to law enforcement, potential

subject(s) could be immediately prompted to flee from prosecution, destroy or conceal

incriminating evidence, alter their operational tactics to avoid future detection, attempt to influence



     3  See, e.g., Times Mirror Co., 873 F.2d at 1212-1221 (no right of access to sealed search
warrant materials exists under the First Amendment, the common law, or Fed. R. Crim. P. 41(g));
Baltimore Sun Co. v. Goetz, 886 F.2d 60, 64 (4th Cir. 1989) (no First Amendment right of access,
but qualified common law right of access); In re Search Warrant for Secretarial Area Outside
Office of Gunn, 855 F.2d 569, 574 (8th Cir. 1988) (qualified First Amendment right of access).


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or intimidate potential witnesses, and otherwise take steps to undermine the investigation and

avoid future prosecution.        In particular, given that they are known to use electronic

communication and remote computing services, the potential subject(s) could quickly and easily

destroy or encrypt digital evidence relating to their criminal activity. Further, notification could

also result in the subject(s) avoiding travel to the United States or other countries from which they

may be extradited.

        Therefore, based on the foregoing, there are reasonable grounds to believe that disclosure

of the Warrant and the details in the search warrant affidavit would result in flight from

prosecution, destruction of or tampering with evidence, intimidation of potential witnesses, or

other serious jeopardy to this investigation. Cf. 18 U.S.C. § 2705(b)(2)-(5). In short, because of

such potential jeopardy to the investigation, there exists a compelling governmental interest in

confidentiality to justify the sealing the Warrant, this application, and this Order. See Robinson,

935 F.2d at 287-89.

        ACCORDINGLY, it is respectfully requested that the above-captioned warrant be issued

pursuant to Rule 41(b)(3), and that the application and affidavit in support thereof, and all

attachments thereto and other related materials (including this application) be placed under seal

until further order of this Court.


                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      UNITED STATES ATTORNEY
                                                      D.C. Bar 481052



                                                By: /s/ Tejpal. S. Chawla

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                                   Tejpal S. Chawla
                                   Assistant United States Attorney
                                   D.C. Bar No. 464012
                                   United States Attorney’s Office
                                   555 Fourth Street, N.W.
                                   Washington, D.C. 20530
                                   202-252- 7280
                                   tejpal.chawla@usdoj.gov




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF:
                                                      SW No. 21-sw-391
 314 SHELBY STREET, SHELBYVILLE,
 INDIANA UNDER RULE 41
                                                      Filed Under Seal


                                              ORDER

       This matter having come before the Court pursuant to the application of the United States

to issue this warrant under Rule 41(b)(3) and to file under seal the above-captioned warrant and

related documents, including the application and affidavit in support thereof and all attachments

thereto and other related materials (collectively the “Warrant”), the Court finds that this Warrant

relates to an investigation involving domestic terrorism, and that, because of such reasonable

grounds to believe the disclosure will result in flight from prosecution, destruction of or tampering

with evidence, intimidation of potential witnesses, and serious jeopardy to the investigation, the

United States has established that a compelling governmental interest exists to justify the requested

sealing.

       1.       IT IS THEREFORE ORDERED that the application is hereby GRANTED, and

       2.       IT IS FURTHER ORDERED that the above Warrant be issued pursuant to Rule

41(b)(3) for property located in the Southern District of Indiana;

       3.       IT IS FURTHER ORDERED that that the warrant, the application and affidavit in

support thereof, all attachments thereto and other related materials, the instant application to seal,

and this Order are sealed until otherwise ordered by the Court; and

       4.       IT IS FURTHER ORDERED that the Clerk’s office shall not make any entry on

the public docket of the Warrant until further order of the Court.

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Date: November 16, 2021
                                             ___________________________________
                                             ROBIN M. MERIWEATHER
                                             UNITED STATES MAGISTRATE JUDGE


cc:   Tejpal S. Chawla
      Assistant United States Attorney
      United States Attorney’s Office
      555 Fourth Street, N.W.
      Washington, D.C. 20530




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